
717 S.E.2d 576 (2011)
STATE
v.
Robert Lee PASTUER.
No. 327PA10-1.
Supreme Court of North Carolina.
September 6, 2011.
Latoya B. Powell, Assistant Attorney General, for State of North Carolina.
Charlesena Elliott Walker, Assistant Appellate Defender, for Pastuer, Robert Lee.
Sam Currin, District Attorney, for State of North Carolina.
The following order has been entered on the motion filed on the 2nd of September 2011 by Defendant to Take Judicial Notice of Map:
"Motion Denied by order of the Court in conference, this the 6th of September 2011."
JACKSON, J. recused.
